                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF PENNSYLVANIA


SCREEN ACTORS GUILD-                                   CIVIL ACTION NO.:
AMERICAN FEDERATION OF                           2:18-CV-455-MPK
TELEVISION AND RADIO ARTISTS,
AFL-CIO
                Plaintiff,

       Vs.

SHERIDAN BROADCASTING
NETWORKS, SHERIDAN
BROADCASTING CORPORATION,
RONALD DAVENPORT, JR. and
RONALD DAVENPORT, SR.,

                       Defendants

                   MOTION TO WITHDRAW AS COUNSEL OF RECORD

       AND NOW comes, FRANK C. WALKER, II, ESQUIRE of FRANKWALKERLAW

and respectfully presents the following Motion to Withdraw as Counsel of Record and

offers the following in support thereof:

       1. Undersigned Counsel was hired to represent the Defendants in the above-

             captioned case.

       2. Defendants have hired Robert O Lampl, Esquire and David L. Fuchs, Esquire

             to represent them in the above-captioned case.

       3. Attorneys Robert O Lampl and David L. Fuchs have filed and entered their

             appearance in the above-captioned case.

       4. No prejudice will result to the Plaintiff or Defendants from counsel’s withdrawal

             at this stage of the proceedings.
       WHEREFORE, Petitioner respectfully requests leave to withdraw his appearance

as counsel for Defendants in all matters wherein Counsel is currently listed as attorney of

record.


                                                  By: /s/ Frank C. Walker, II
                                                 Frank C. Walker, II, Esquire
                                                 frank@frankwalkerlaw.com

                                                 FrankWalkerLaw
                                                 3000 N. Lewis Run Road
                                                 Clairton, PA 15025

                                                 412.405.8556
                                                 Fax: 412.202.9193
                                                 Counsel for Defendants

Date: March 14, 2019
                              CERTIFICATE OF SERVICE

      I, Frank C. Walker, II, Esquire, hereby certify that I electronically filed the

foregoing Motion to Withdraw as Counsel of Record with the Clerk of the Court using

the CM/ECF system which automatically sent notification of such filing to the below

listed individual(s). The document so filed is available for viewing and downloading on

the ECF System.



                               Peter H. Demkovitz, Esquire
                                Jonathan Walters, Esquire
                               MARKOWITZ & RICHMAN
                                 123 South Broad Street
                                        Suite 2020
                                 Philadelphia, PA 19109
                                  Counsel for Plaintiff



                                           FrankWalkerLaw


                                           By: /s/ Frank C. Walker, II
                                                Frank C. Walker, II, Esquire

Date: March 14, 2019
